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    Fill in this information to identify the case:


    United States Bankruptcy Court for the District of Delaware

    Case number (if known):                                     Chapter 11

                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                                 04/20

   If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
   number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

   1.   Debtor’s name                                RBA Wholesale, LLC


   2.   All other names debtor used                  N/A
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names




   3.   Debtor’s federal Employer
        Identification Number (EIN)                  XX-XXXXXXX


   4.   Debtor’s address                             Principal place of business                                             Mailing address, if different from principal place
                                                                                                                             of business


                                                     100          Phoenix Avenue
                                                     Number       Street                                                     Number                     Street



                                                                                                                             P.O. Box


                                                     Enfield                       CT                   06082
                                                     City                          State                ZIP Code             City                       State             ZIP Code

                                                                                                                             Location of principal assets, if different from
                                                                                                                             principal place of business
                                                     Hartford
                                                     County
                                                                                                                             Number             Street




                                                                                                                             City               State                ZIP Code



   5.   Debtor’s website (URL)                       https://www.brooksbrothers.com/


   6.   Type of debtor                               ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                     ☐ Partnership (excluding LLP)
                                                     ☐ Other. Specify:


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                                    Case 20-11795-CSS                      Doc 1          Filed 07/08/20                Page 2 of 23
Debtor          RBA Wholesale, LLC                                                                           Case number (if known)
                Name


                                                 A. Check one:
 7.      Describe debtor’s business
                                                 ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                 ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                 ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                                 ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                 ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                 ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                 ☒   None of the above


                                                 B. Check all that apply:
                                                 ☐ Tax- exempt entity (as described in 26 U.S.C. § 501)
                                                 ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                 ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                     4243 – Apparel, Piece Goods, and Notions Merchant Wholesalers

 8.      Under which chapter of the
                                                 Check one:
         Bankruptcy Code is the
         debtor filing?                          ☐ Chapter 7
                                                 ☐ Chapter 9
                                                 ☒ Chapter 11. Check all that apply:
         A debtor who is a “small business                        ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D),
         debtor” must check the first sub-box.                      and its aggregate noncontingent liquidated debts (excluding debts owed to
         A debtor as defined in § 1182(1)                           insiders or affiliates) are less than $2,725,625. If this sub-box is selected,
         who elects to proceed under                                attach the most recent balance sheet, statement of operations, cash-flow
         subchapter V of chapter 11 (whether                        statement, and federal income tax return or if any of these documents do
         or not the debtor is a “small                              not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
         business debtor”) must check the                         ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
         second sub-box.
                                                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                    are less than $7,500,000 and it chooses to proceed under Subchapter V of
                                                                    Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                    sheet, statement of operations, cash-flow statement, and federal income tax
                                                                    return or if any of these documents do not exist, follow the procedure in 11
                                                                    U.S.C. § 1116(1)(B).
                                                                  ☐ A plan is being filed with this petition.
                                                                  ☐ Acceptances of the plan were solicited prepetition from one or more classes
                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                  ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                    the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                    Securities Exchange Act of 1934. File the Attachment to Voluntary Petition
                                                                    for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form
                                                                    201A) with this form.
                                                                  ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                    1934 Rule 12b-2.
                                                 ☐ Chapter 12
 9.      Were prior bankruptcy cases             ☒ No
         filed by or against the debtor
                                                 ☐ Yes        District                       When                             Case number
         within the last 8 years?
                                                                                                           MM/ DD/ YYYY
         If more than 2 cases, attach a
         separate list.
                                                              District                       When                             Case number
                                                                                                           MM / DD/ YYYY




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Debtor           RBA Wholesale, LLC                                                                             Case number (if known)
                 Name


 10. Are any bankruptcy cases                     ☐ No
     pending or being filed by a
     business partner or an                       ☒ Yes          Debtor         See Schedule 1                                   Relationship     See Schedule 1
     affiliate of the debtor?                                    District       Delaware                                         When             July 8, 2020
         List all cases. If more than 1,                                                                                                          MM / DD/ YYYY
                                                                 Case number, if known
         attach a separate list.



  11. Why is the case filed in this               Check all that apply:
      district?
                                                  ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                       immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                       district.
                                                  ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                                  ☒ No
     possession of any real
     property or personal property                ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate
     attention?                                              Why does the property need immediate attention? (Check all that apply.)
                                                            ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                                  health or safety.

                                                                  What is the hazard?
                                                            ☐     It needs to be physically secured or protected from the weather.
                                                            ☐     It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                  without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                  securities-related assets or other options).


                                                             ☐ Other


                                                            Where is the property?
                                                                                               Number                 Street


                                                                                               City                             State             ZIP Code
                                                            Is the property insured?
                                                                                                ☐ No
                                                                                               ☐ Yes. Insurance agency
                                                                                                          Contact Name
                                                                                                          Phone




                  Statistical and administrative information



  13. Debtor’s estimation of                  Check one:
      available funds                         ☒     Funds will be available for distribution to unsecured creditors.
                                              ☐     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

  14. Estimated number of                     
                                              ☐     1-49                                      ☐       1,000-5,000                        ☐   25,001-50,000
      creditors                               ☐     50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
          (on a consolidated basis with all   ☐     100-199                                   ☒       10,001-25,000                      ☐   More than 100,000
          affiliated debtors)
                                              ☐     200-999




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Debtor         RBA Wholesale, LLC                                                                         Case number (if known)
               Name



  15. Estimated assets                       ☐   $0-$50,000                             ☐     $1,000,001-$10 million               ☒    $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                       ☐     $10,000,001-$50 million              ☐    $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                      ☐     $50,000,001-$100 million             ☐    $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                    ☐     $100,000,001-$500 million            ☐    More than $50 billion

  16. Estimated liabilities                  ☐   $0-$50,000                           ☐     $1,000,001-$10 million                 ☒    $500,000,001-$1 billion
         (on a consolidated basis with all   ☐   $50,001-$100,000                     ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
         affiliated debtors)
                                             ☐   $100,001-$500,000                    ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                             ☐   $500,001-$1 million                  ☐     $100,000,001-$500 million              ☐    More than $50 billion



                Request for Relief, Declaration, and Signatures


 WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines
           up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
    17. Declaration and signature of                  The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
        authorized representative of                   this petition.
        debtor
                                                      I have been authorized to file this petition on behalf of the debtor.

                                                      I have examined the information in this petition and have a reasonable belief that the information is
                                                       true and correct.
                                                       I declare under penalty of perjury that the foregoing is true and correct.

                                                           Executed on July 8, 2020
                                                                       MM / DD / YYYY




                                                             /s/ Stephen Marotta                                      Stephen Marotta
                                                           Signature of authorized representative of                  Printed name
                                                            debtor

                                                           Chief Restructuring Officer
                                                           Title



    18. Signature of attorney                           /s/ Zachary I. Shapiro                                       Date     July 8, 2020
                                                      Signature of attorney for debtor                                       MM / DD / YYYY
                                                      Zachary I. Shapiro                                            Garrett A. Fail
                                                        Printed Name
                                                
                                                      Richards, Layton & Finger, P.A.                               Weil, Gotshal & Manges LLP
                                                        Firm Name
                                                
                                                      One Rodney Square, 920 North King Street                      767 Fifth Avenue
                                                        Address
                                                
                                                      Wilmington, Delaware 19801                                    New York, New York 10153
                                                        City/State/Zip
                                                
                                                      (302) 651-7700                                                (212) 310-8000
                                                        Contact Phone
                                                
                                                      shapiro@rlf.com                                               garrett.fail@weil.com
                                                        Email Address
                                                
                                                      5103                                Delaware
                                                      Bar Number                          State



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                                                     Schedule 1

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

            On the date hereof, each of the affiliated entities listed below (including the debtor in
this chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under
chapter 11 of title 11 of the United States Code in the United States Bankruptcy Court for the
District of Delaware. The Debtors have filed a motion requesting that the chapter 11 cases of
these entities be consolidated for procedural purposes only and jointly administered pursuant to
Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                                                   COMPANY
                              Brooks Brothers Group, Inc.
                              Brooks Brothers International, LLC
                              696 White Plains Road LLC
                              Brooks Brothers Restaurant, LLC
                              BBD Holding 1, LLC
                              BBD Holding 2, LLC
                              BBDI, LLC
                              Deconic Group LLC
                              Golden Fleece Manufacturing Group, LLC
                              RBA Wholesale, LLC
                              Retail Brand Alliance Gift Card Services, LLC
                              Retail Brand Alliance of Puerto Rico, Inc.
                              Brooks Brothers Far East Limited




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                       ACTION BY WRITTEN CONSENT
                                     OF
                          THE GOVERNING BODIES
                                    OF
              696 WHITE PLAINS ROAD, LLC, BBD HOLDING 1, LLC,
              BBD HOLDING 2, LLC, BBDI, LLC, BROOKS BROTHERS
         INTERNATIONAL, LLC, BROOKS BROTHERS RESTAURANT, LLC,
           DECONIC GROUP LLC, GOLDEN FLEECE MANUFACTURING
         GROUP, LLC, RBA WHOLESALE, LLC, RETAIL BRAND ALLIANCE
            GIFT CARD SERVICES, LLC, RETAIL BRAND ALLIANCE OF
        PUERTO RICO, INC., AND BROOKS BROTHERS FAR EAST LIMITED

                                           July 7, 2020

                 WHEREAS, the undersigned (as applicable, the “Governing Body”), of each of
the entities referenced above (each, a “Company” and collectively, the “Companies”), do hereby
consent to, adopt, and approve, by written consent in accordance with the applicable provisions of
the Delaware General Corporation Law, the Delaware Limited Liability Company Act, the New
York Limited Liability Company Law, the Code of Virginia, and the Companies Ordinance
(Chapter 622 of the Laws of Hong Kong), the following resolutions and each and every action
effected thereby.

                WHEREAS, the Governing Body of each Company has reviewed and had the
opportunity to ask questions about the materials presented by the management and the legal and
financial advisors of such Company regarding the liabilities and liquidity of such Company, the
strategic alternatives available to it and the impact of the foregoing on such Company’s businesses;

               WHEREAS, the Governing Body of each Company has had the opportunity to
consult with the management and the legal and financial advisors of such Company to fully
consider, and has considered, each of the strategic alternatives available to such Company; and

               WHEREAS, each Governing Body desires to approve the following resolutions.

I.     Commencement of Chapter 11 Case

                 NOW, THEREFORE, BE IT RESOLVED, that, with respect to each Company,
its Governing Body has determined, after consultation with the management and the legal and
financial advisors of such Company, that it is desirable and in the best interests of such Company,
its creditors, and other parties in interest that a petition be filed by such Company seeking relief
under the provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);
and be it further

               RESOLVED, that any officer or other authorized person of any respective
Company, including officers appointed pursuant to Section III below, or each such officer’s
delegates (each, an “Authorized Person”), in each case, acting singly or jointly, be, and each
hereby is, authorized, empowered, with full power of delegation, and directed to negotiate,
execute, deliver, and file, in the name and on behalf of such Company, and under its corporate seal
or otherwise, all plans, petitions, schedules, statements, motions, lists, applications, pleadings,
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papers, affidavits, declarations, and other documents (the “Chapter 11 Filings”) in the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) (with such
changes therein and additions thereto as any such Authorized Officer may deem necessary,
appropriate or advisable, the execution and delivery of any of the Chapter 11 Filings by any such
Authorized Person with any changes thereto to be conclusive evidence that any such Authorized
Person deemed such changes to meet such standard); and be it further

                RESOLVED, that each Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed to take and perform any and all further
acts and deeds which such Authorized Person deems necessary, appropriate, or desirable in
connection with such Company’s chapter 11 case (each, a “Chapter 11 Case”) or Chapter 11
Filings, including, without limitation, (i) the payment of fees, expenses and taxes such Authorized
Person deems necessary, proper, or desirable, and (ii) negotiating, executing, delivering,
performing, and filing any and all documents, motions, pleadings, applications, declarations,
affidavits, schedules, statements, lists, papers, agreements, certificates and/or instruments (or any
amendments or modifications thereto) in connection with the Chapter 11 Case, with a view to the
successful prosecution of such Chapter 11 Case (such acts to be conclusive evidence that such
Authorized Person deemed the same to meet such standard); and be it further

II.    Debtor-in-Possession Financing and Cash Collateral

                 RESOLVED, that, to the extent applicable, each Governing Body, has determined,
after consultation with the management and the legal and financial advisors of each Company, as
applicable, that it is desirable and in the best interest of such Company, its creditors, and other
parties in interest and necessary to the conduct, promotion or attainment of the business of each of
Golden Fleece Manufacturing Group, LLC (“Golden Fleece”), RBA Wholesale, LLC (“RBA
Wholesale”), Brooks Brothers International, LLC (“BBI”), Retail Brand Alliance Gift Card
Services, LLC (“RBA Gift Card”), Retail Brand Alliance of Puerto Rico, Inc. (“RBA Puerto
Rico”) and 696 White Plains Road, LLC (“White Plains,” and collectively with Golden Fleece,
RBA Wholesale, BBI, RBA Gift Card, and RBA Puerto Rico, the “Company DIP Loan Parties”),
subject to approval of the Bankruptcy Court, as debtor and debtor in possession under chapter 11
of the Bankruptcy Code, to: (a) enter into a new debtor in possession financing facility in an
aggregate principal amount of $75,000,000 (the “DIP Facility”) and any associated documents,
incur the indebtedness and other obligations under the DIP Facility, as applicable, and consummate
and perform its obligations in connection with the transactions (including the borrowings and
guarantees, as applicable) contemplated therein (collectively, the “Financing Transactions”) with
such lenders and on such terms substantially consistent with those presented to the applicable
Governing Body on or prior to the date hereof and as may be further approved, modified or
amended by any one or more of the Authorized Persons, as may be reasonably necessary or
desirable for the continuing conduct of the affairs of such Company DIP Loan Party; and (b) pay
related fees and grant security interests in and liens upon some, all or substantially all of such
Company DIP Loan Party’s assets, in such case, as may be deemed necessary or desirable by any
one or more of the Authorized Persons in connection with the Financing Transactions; and be it
further

                RESOLVED that: (a) each Authorized Person, in each case, acting singly or
jointly, be, and each hereby is, authorized and empowered, in the name of, and on behalf of, each

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Company DIP Loan Party, as debtor and debtor in possession, to take such actions and execute,
acknowledge, deliver and verify such agreements, certificates, instruments, guaranties, notices and
any and all other documents as any of the Authorized Persons may deem necessary or appropriate
to facilitate the Financing Transactions including, without limitation, (i) the Debtor-In-Possession
Term Loan Agreement, to be entered into by and among Brooks Brothers Group, Inc. (“BB
Parent”), the Company DIP Loan Parties, each lender party thereto from time to time, and WH
Holdco, LLC, an affiliate of WHP Global, as administrative agent and collateral agent (the “DIP
Agent”), (ii) the Security Agreement, to be entered into by and among BB Parent, the Company
DIP Loan Parties and the DIP Agent, (iii) the Guaranty, to be entered into by and among RBA
Wholesale, BBI, RBA Gift Card, RBA Puerto Rico, White Plains and the DIP Agent and (iv) any
other related documentation required under the DIP Facility, including all such other documents,
instruments, agreements and certificates entered into in connection with the DIP Facility and the
Financing Transactions (collectively, the “Financing Documents”); (b) the Financing Documents
containing such provisions, terms, conditions, covenants, warranties and representations as may
be deemed necessary or desirable by any of the Authorized Persons are hereby approved; (c) each
Authorized Person, in each case, acting singly or jointly, be, and each hereby is, authorized and
empowered in the name of, and on behalf of, each Company DIP Loan Party, as debtor and debtor
in possession, to authorize counsel to draft, file and seek approval of the Financing Transactions;
and (d) the actions of any Authorized Person taken pursuant hereto, including the execution,
acknowledgment, delivery and verification of all agreements, certificates, instruments, guaranties,
notices and other documents, shall be conclusive evidence of such Authorized Person’s approval
thereof and the necessity or desirability thereof; and be it further

               RESOLVED, that the form, terms and provisions of the Financing Documents
(including the incurrence of indebtedness thereunder), the execution, delivery and performance
thereof, the consummation of the Financing Transactions contemplated thereby and the
performance by each Company DIP Loan Party of its obligations arising thereunder, are hereby
approved, authorized and adopted in all respects, including without limitation, the incurrence of
all indebtedness (through any borrowing, guarantee or otherwise), the issuance of notes to evidence
such debt incurrence in such form and having such terms and conditions as are approved or deemed
necessary, appropriate or desirable by the officer executing such note, the payment of interest, and
the pledging of assets and granting of all security interests, liens and encumbrances in accordance
with the terms and provisions of the foregoing documents; and be it further

               RESOLVED, that, to the extent applicable, the Authorized Persons may seek
Bankruptcy Court approval, and seek to obtain the consent of any Company DIP Loan Party’s
existing secured lenders for the use of cash collateral under that certain Credit Agreement, dated
as of June 28, 2019, by and among BB Parent and the other borrowers party thereto from time to
time, the guarantors party thereto from time to time, each lender party thereto from time to time,
and Wells Fargo Bank, National Association, as administrative agent, collateral agent, L/C Issuer
and Swing Line Lender (as amended, restated, amended and restated, supplemented, modified or
otherwise in effect from time to time); and be it further

III.   Officers

              RESOLVED, that the individuals set forth below be, and hereby are, elected to the
newly created offices of each of the Companies set forth opposite their names, to serve subject to,

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and in accordance with, the governing documents of each of the Companies and direction of the
Governing Bodies, and to hold such offices until their job is satisfied or until their earlier death,
resignation or removal:

               Stephen Marotta                          Chief Restructuring Officer

               Adrian Frankum                           Restructuring Officer

IV.    Retention of Advisors

               RESOLVED, that, in connection with each Company’s Chapter 11 Case, each
Authorized Person, in each case, acting singly or jointly, be, and each hereby is, authorized,
empowered, and directed to employ and retain all assistance by legal counsel, accountants,
financial advisors, investment bankers and other professionals which such Authorized Person
deems necessary, appropriate, or desirable in connection with, or in furtherance of, such
Company’s Chapter 11 Case, with a view to the successful prosecution of such Chapter 11 Case
(such acts to be conclusive evidence that such Authorized Person deemed the same to meet such
standard); and be it further

                RESOLVED, that, with respect to each Company, the law firm of Weil, Gotshal
& Manges LLP, located at 767 Fifth Avenue, New York, New York 10153, is hereby retained as
attorneys for such Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be
it further

               RESOLVED, that, with respect to each Company, the firm of PJ Solomon, L.P.,
located at 1345 Avenue of the Americas, 31st Floor, New York, New York 10105, is hereby
retained as investment banker for such Company in its Chapter 11 Case, subject to Bankruptcy
Court approval; and be it further

                RESOLVED, that, with respect to each Company, the firm of Ankura Consulting
Group LLC, located at 485 Lexington Avenue, 10th Floor, New York, New York 10017, is hereby
retained as financial advisor for such Company in its Chapter 11 Case, subject to Bankruptcy Court
approval; and be it further

                RESOLVED, that Prime Clerk, located at One Grand Central Place, 60 East 42nd
Street, Suite 1440, New York, NY 10165, is hereby retained as claims, noticing, and solicitation
agent for the Companies in their Chapter 11 Cases, subject to Bankruptcy Court approval; and be
it further

                RESOLVED, that, with respect to each Company, each Authorized Person, in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to take
and perform any and all further acts and deeds, including, without limitation, (i) the payment of
any consideration, (ii) the payment of fees, expenses and taxes such Authorized Person deems
necessary, proper, or desirable, and (iii) negotiating, executing, delivering and performing any and
all documents, motions, pleadings, applications, declarations, affidavits, schedules, statements,
lists, papers, agreements, certificates and/or instruments (or any amendments or modifications
thereto) in connection with the engagement of professionals contemplated by the foregoing


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resolutions (such acts to be conclusive evidence that such Authorized Person deemed the same to
meet such standard); and be it further

V.     General

                RESOLVED, that, with respect to each Company, each Authorized Person, in each
case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed to take
and perform any and all further acts or deeds, including, but not limited to, (i) the negotiation of
such additional agreements, amendments, modifications, supplements, renewals, replacements,
consolidations, substitutions, extensions, reports, documents, instruments, applications, notes or
certificates not now known but which may be required, (ii) the execution, delivery and filing (if
applicable) of any of the foregoing and (iii) the payment of all fees, consent payments, taxes and
other expenses as any such Authorized Person, in his or her sole discretion, may approve or deem
necessary, appropriate or desirable in order to carry out the intent and accomplish the purposes of
the foregoing resolutions and the transactions contemplated thereby, all of such actions,
executions, deliveries, filings and payments to be conclusive evidence of such approval or that
such Authorized Person deemed the same to be so necessary, appropriate or desirable; and be it
further

               RESOLVED, that any and all past actions heretofore taken by any Authorized
Person, any director, or any member of any Company, in the name and on behalf of such Company
or by BB Parent on behalf of, or for the benefit of, such Company or in furtherance of any or all
of the preceding resolutions be, and the same hereby are, ratified, confirmed, and approved in all
respects.

                           [Remainder of page intentionally left blank]




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                         IN WITNESS WHEREOF, the undersigned, being the sole member of RBA
            Wholesale, LLC, has executed this written consent as of the date first set forth above.

                                                             BROOKS BROTHERS GROUP, INC., as the
                                                             sole member of RBA Wholesale, LLC

                                                             By:
                                                             Name: Steven Goldaper
                                                             Title: Chief Financial Officer
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    Fill in this information to identify the case:

    Debtor name: RBA Wholesale, LLC
    United States Bankruptcy Court for the District of Delaware
                                                    (State)
    Case number (If known):                                                                                                                           ☐ Check if this is an
                                                                                                                                                      amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
    Largest Unsecured Claims and Are Not Insiders                                12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
    Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
    unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
Name of creditor and complete mailing         Name, telephone number, and email             Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                   address of creditor contact                     claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
                                                                                           example, trade      contingent,     claim amount. If claim is partially secured, fill in total
                                                                                             debts, bank      unliquidated,    claim amount and deduction for value of collateral
                                                                                                loans,         or disputed     or setoff to calculate unsecured claim.
                                                                                            professional
                                                                                            services, and
                                                                                            government
                                                                                              contracts)
                                                                                                                                Total claim, if      Deduction for         Unsecured
                                                                                                                                  partially             value of             claim
                                                                                                                                  secured             collateral or
                                                                                                                                                         setoff
1       Swiss Garments Company                Attn.: Alaa Arafa                              Trade Debt                                                                  $5,232,180.00
        Attn.: Alaa Arafa                            Hala Hashem
               Hala Hashem                    Phone: 20 100 123 4520
        3rd Industrial Area A1                       20 554 410 662
        Private Fee Zone                      Email: aarafa@sgc.com.eg
        10th of Ramadan, Egypt                       hhashem@sgc.com.eg
        44634
        Egypt

2       FedEx ERS                             Attn.: Paul Kruk                               Trade Debt                                                                  $2,944,203.00
        Attn.: Paul Kruk                      Phone: (781) 296‐4303
        P.O. Box 371741                       Email: paul.kruk@fedex.com
        Pittsburgh, PA 15250‐7741
        USA

3       Teacher’s Insurance                   Attn: Richard Lee                           Lease Obligation                                                               $2,857,718.00
        Attn: Richard Lee                     Phone: 415‐781‐885
        210 Post St., Suite 316               Email: richard.lee@cushwake.com
        TIAA #6910
        San Francisco, CA 94108
        USA

4       Trajes Mexicanos S.A. De C.V.         Attn.: Mario Sanchez Llono                     Trade Debt                                                                  $2,843,652.00
        Attn.: Mario Sanchez Llono            Phone: 52 713 133 66 66
        Isidro Fabela #102                    Email: mario@tramex.com.mx
        Parque Industrial Tianguistenco
        Tianguistenco, Mexico
        52600
        Mexico

5       Esquel Enterprises Limited            Attn.: Wesley Choi / Evelin Lau                Trade Debt                                                                  $2,550,522.00
        Attn.: Wesley Choi / Eveline Lau      Phone: 852 2960 6642
        13/F Harbour Centre                           852 2960 6617
        25 Harbour Road                       Email: choiw@esquel.com
        WANCHAI, Hong Kong                           laue@esquel.com
        999077
        Hong Kong



    Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                            Page 1



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                                         Case 20-11795-CSS                    Doc 1        Filed 07/08/20              Page 13 of 23
               RBA Wholesale, LLC                                                                        Case number (if known)
               Name

Name of creditor and complete mailing        Name, telephone number, and email             Nature of the        Indicate if   Amount of unsecured claim
address, including zip code                  address of creditor contact                     claim (for          claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                          example, trade       contingent,    claim amount. If claim is partially secured, fill in total
                                                                                            debts, bank       unliquidated,   claim amount and deduction for value of collateral
                                                                                               loans,          or disputed    or setoff to calculate unsecured claim.
                                                                                           professional
                                                                                           services, and
                                                                                           government
                                                                                             contracts)
                                                                                                                                  Total claim, if   Deduction for         Unsecured
                                                                                                                                    partially          value of             claim
                                                                                                                                    secured          collateral or
                                                                                                                                                        setoff
6       Pt Unagaran Sari Garments            Attn.: Sanjay Goyal                            Trade Debt                                                                  $1,964,208.00
        Attn.: Sanjay Goyal                  Phone: 62 24 6921113
        JL P Diponegoro No. 235 Genuk,       Email: sgoyal@busanagroup.com
        Ungaran Barat
        Kabupaten Semarang, Indonesia
        50512
        Indonesia

7       Grosvenor Urban Retail, LP           Attn.: David Sidorsky                       Lease Obligation                                                               $1,190,092.34
        Attn.: David Sidorsky                Phone: (202) 851‐5600
        Division #23                         Email: dsidorsky@plc.com
        5500 Wisconsin
        P.O. Box 823523
        Grosvenor‐5500WISC
        Philadelphia, PA 19182‐3523
        USA

8       T.U.W. Textile Co., Ltd.             Attn.: Masayuki Shimakura                      Trade Debt                                                                  $1,187,122.78
        Attn.: Masayuki Shimakura            Phone: 66 3438 9571
        113 MOO4, Nakornchaisr‐Dontoom‐      Email: mshima@tuw.co.th
        Roda
        Sampatuan, Nakornchaisri
        Nakornprathom, Thailand
        73210
        Thailand

9       Adventura Mall Venture               Attn.: Jory Thomas                          Lease Obligation                                                               $1,109,291.92
        Attn.: Jory Thomas                   Phone: (305) 914‐8215
        P.O. Box 865006                      Email: jthomas@turnberry.com
        Orlando, FL 32886
        USA

10      Epic Designers Limited               Attn.: Gilles Fries                            Trade Debt                                                                  $1,067,233.00
        Attn.: Gilles Fries                  Phone: 852 3512 0800
        Floor 6, 7, & 9th EGL Tower No. 83   Email: gilles.fries@epichk.com
        Hung to Road
        KWUN TONG KOWLOON, Hong Kong
        99700
        Hong Kong

11      Winner Way Industrial Limited        Attn.: Sing Li                                 Trade Debt                                                                    $969,995.35
        Attn.: Sing Li                       Phone: 852 2689 1881
        Units A‐C, 21/F, Block 1             Email: singl@nameson.com.cn
        Tai Ping Industrial Centre
        57 Ting Kok Road
        TAI PO, N.T. HONG KONG,
        99977
        Hong Kong

12      Yee Tung Garment Company Limited     Attn.: Victor Fong                             Trade Debt                                                                    $968,004.50
        Attn.: Victor Fong                   Phone: 852 2211 0100
        3/F Chiap Luen Industrial Bldg.      Email: victor@yeetung.com
        30‐32 Kung Yip Street
        KWAI CHUNG, N.T., Hong Kong
        999077
        Hong Kong



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             RBA Wholesale, LLC                                                                         Case number (if known)
             Name

Name of creditor and complete mailing      Name, telephone number, and email             Nature of the         Indicate if   Amount of unsecured claim
address, including zip code                address of creditor contact                     claim (for           claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                        example, trade        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                          debts, bank        unliquidated,   claim amount and deduction for value of collateral
                                                                                             loans,           or disputed    or setoff to calculate unsecured claim.
                                                                                         professional
                                                                                         services, and
                                                                                         government
                                                                                           contracts)
                                                                                                                                 Total claim, if   Deduction for         Unsecured
                                                                                                                                   partially          value of             claim
                                                                                                                                   secured          collateral or
                                                                                                                                                       setoff
13   Pt Eratex Djaja Tbk                   Attn.: Sanjay Goyal                            Trade Debt                                                                     $957,134.00
     Attn.: Sanjay Goyal                   Phone: 62 24 6921113
     JL. Soekarno Hatta 23                 Email: sgoyal@busanagroup.com
     Probolinggo
     67212
     Indonesia

14   Di. Conf. SRL                         Attn.: Rosario Parlato                         Trade Debt                                                                     $925,752.50
     Attn.: Rosario Parlato                Phone: 39 081 841 1762
     Via Variante 7 BIX KM 45.300          Email: r.parlato@diconf.com
     Margianella, Italy
     80030
     Italy

15   Excellent Jade Limited                Attn.: Vivian Chan                             Trade Debt                                                                     $908,147.00
     Attn.: Vivian Chan                    Phone: 852 2279 3808
     5/F., 66‐72 Lei Muk Road              Email: vivianchan@tristateww.com
     KWAI CHUNG, N.T., Hong Kong
     999077
     Hong Kong

16   Winston & Strawn                      Attn.: Jonathan Birenbaum                     Professional                                                                    $871,449.00
     Attn.: Jonathan Birenbaum             Phone: (212) 294‐4629                           Services
     36235 Treasury Center                 Email: jbirenbaum@winston.com
     Chicago, IL 60694‐6200
     USA

17   Salesforce.Com, Inc.                  Attn.: Brett Murray                            Technology                                                                     $855,119.00
     Attn.: Brett Murray                   Phone: (317) 832‐4087                           Services
     P.O. Box 203141                       Email: brett.murray@saleforce.com
     Dallas, TX 75320‐3141
     USA

18   Bagir International, Inc.             Attn.: Micha Ronen                             Trade Debt                                                                     $832,473.00
     Attn.: Micha Ronen                           Asaf Shavit Stricks
            Asaf Shavit‐Stricks            Phone: 972 52 277 1702
     499 Fashion Avenue, 16 S                      972 3 6254000
     New York, NY 10018                    Email: michar@bagir.com
     USA                                          asafs@zadokco.co.il

19   Kleban Darien LLC                     Attn.: April Clyne                          Lease Obligation                                                                  $793,603.00
     Attn.: April Clyne                    Phone: (203) 955‐1978
     1189 Post Road                        Email: aclyne@klebanproperties.com
     Fairfield, CT 06824
     USA

20   Calvelex, S.A.                        Attn.: Marco Araujo                            Trade Debt                                                                     $791,969.00
     Attn.: Marco Araujio                  Phone: 351 255 880321
     Monte Do Calvelo                      Email: marco.araujo@calvelx.com
     E.N. 106 NR. 1132
     Lousada
     4620‐249
     Portugal




 Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                             Page 3



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            RBA Wholesale, LLC                                                                          Case number (if known)
            Name

Name of creditor and complete mailing      Name, telephone number, and email             Nature of the         Indicate if   Amount of unsecured claim
address, including zip code                address of creditor contact                     claim (for           claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                        example, trade        contingent,    claim amount. If claim is partially secured, fill in total
                                                                                          debts, bank        unliquidated,   claim amount and deduction for value of collateral
                                                                                             loans,           or disputed    or setoff to calculate unsecured claim.
                                                                                         professional
                                                                                         services, and
                                                                                         government
                                                                                           contracts)
                                                                                                                                 Total claim, if   Deduction for         Unsecured
                                                                                                                                   partially          value of             claim
                                                                                                                                   secured          collateral or
                                                                                                                                                       setoff
21   Georgetown Renaissance, LP            Attn.: Will Hitchcock                       Lease Obligation                                                                  $767,134.00
     Attn.: Will Hitchcock                 Phone: (202) 688‐3994
     P.O. Box 822475                       Email: whitchcock@eastblanc.com
     Philadelphia, PA 19182‐2475
     USA

22   Borderfree                            Attn.: Hansel Tan                              Technology                                                                     $758,945.00
     Attn.: Hansel Tan                     Phone: (917) 943‐2455                           Services
     292 Madison Avenue, 5th Floor         Email: hanselkimwell.tan@pb.com
     New York, NY 10017
     USA

23   Pespow S.P.A.                         Attn.: Cinzia D’Agositino                      Trade Debt                                                                     $724,436.20
     Attn.: Cinzia D’Agositino             Phone: 39 049 5950 214
     Via Dell’Industria 23                 Email: cinzia.dagostino@pespow.com
     S Martino Di Lupari
     Padova, Italy 35018
     Italy

24   KPMG                                  Attn: Victoria Youkateh                       Professional                                                                    $683,067.00
     Attn: Victoria Youkhateh              Phone: (860) 297‐5060                           Services
     P.O. Box 120511                       Email: vyoukhateh@kpmg.com
     Dept. 0511
     Dallas, TX 75312‐0511
     USA

25   Tyson’s Corner Holdings, LLC          Attn: Saratina Martin                       Lease Obligation                                                                  $658,258.00
     Attn: Saratina Martin                 Phone: (424) 229‐3709
     P.O. Box 849554                       Email: saratina.martin@macerich.com
     Los Angeles, CA 90084‐9554
     USA

26   RCPI Landmark Properties, LLC         Attn: Vinnie Cirillo                        Lease Obligation                                                                  $621,435.00
     C/O Tishman Speyer Properties         Phone: (212) 332‐6637
     Attn: Vinnie Cirillo                  Email: vcirillo@tishmanspeyer.com
     P.O. Box 33173
     Newark, NJ 07188‐3173
     USA

27   MD Contract SRL                       Attn.: Paolo Filippo Soldan                    Trade Debt                                                                     $605,542.00
     Attn.: Paolo Filippo Soldan           Phone: 39 3428796763
     Galleria Del Corso 2                  Email: mdcontract@pec.it
     Milano, MI 20122
     Italy

28   Amalgamated National                  Attn.: Timothy Clark                           Insurance                                                                      $591,080.20
     Attn: Timothy Clark                   Phone: (914) 367‐5841                           Provider
     333 Westchester Ave.                  Email: tclark@alicare.com
     White Plains, NY 10604
     USA




 Official Form 204                                    List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                             Page 4



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            RBA Wholesale, LLC                                                                         Case number (if known)
            Name

Name of creditor and complete mailing       Name, telephone number, and email            Nature of the        Indicate if   Amount of unsecured claim
address, including zip code                 address of creditor contact                    claim (for          claim is     If the claim is fully unsecured, fill in only unsecured
                                                                                        example, trade       contingent,    claim amount. If claim is partially secured, fill in total
                                                                                          debts, bank       unliquidated,   claim amount and deduction for value of collateral
                                                                                             loans,          or disputed    or setoff to calculate unsecured claim.
                                                                                         professional
                                                                                         services, and
                                                                                         government
                                                                                           contracts)
                                                                                                                                Total claim, if   Deduction for         Unsecured
                                                                                                                                  partially          value of             claim
                                                                                                                                  secured          collateral or
                                                                                                                                                      setoff
29   Manhattan Associates                   Attn.: Dennis Story                           Trade Debt                                                                    $577,233.70
     Attn.: Dennis Story                    Phone: (770) 955‐7070
     P.O. Box 405696                        Email: ar.manh.com
     Atlanta, GA 30384‐5696
     USA

30   Universal Express (Garments) Ltd.      Attn.: Gene Choi                              Technology                                                                    $564,164.00
     Attn.: Gene Choi                       Phone: 86 21 6272 5058                         Services
     Room 2402, 24/F, Sing Pao Bldg.        Email: jkchoi@sh‐universal.com
     101 Kings Road, Fortress Hill
     HONG KONG, Hong Kong
     99970
     Hong Kong




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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
BROOKS BROTHERS GROUP, INC., et al., :                                Case No. 20– ________
                                                             :
                                               1
                                    Debtors.                 :        (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x

        CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
        TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

         Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1, attached hereto

as Exhibit A is an organizational chart reflecting all of the ownership interests in Brooks Brothers

Group, Inc. (“Brooks Brothers”) and its affiliated debtors in the above-captioned chapter 11

cases, as debtors and debtors in possession (collectively, the “Debtors”). The Debtors respectfully

represent as follows:

         1.       The following entities own, directly or indirectly, the below equity interests in

Brooks Brothers:

              a. The Del Vecchio Family Trust owns approximately 15.1% of the Class A Common
                 Stock in Brooks Brothers.

              b. DV Family, LLC owns approximately 5.9% of the Class A Common Stock in
                 Brooks Brothers.

              c. The CDV 2015 Annuity Trust owns approximately 71.5% of the Class A Common
                 Stock in Brooks Brothers.

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are Brooks Brothers Group, Inc. (8883); Brooks Brothers Far East Limited (N/A); BBD
    Holding 1, LLC (N/A); BBD Holding 2, LLC (N/A); BBDI, LLC (N/A); Brooks Brothers International, LLC
    (N/A); Brooks Brothers Restaurant, LLC (3846); Deconic Group LLC (0969); Golden Fleece Manufacturing
    Group, LLC (5649); RBA Wholesale, LLC (0986); Retail Brand Alliance Gift Card Services, LLC (1916); Retail
    Brand Alliance of Puerto Rico, Inc. (2147); and 696 White Plains Road, LLC (7265). The Debtors’ corporate
    headquarters and service address is 346 Madison Avenue, New York, New York 10017.
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            d. Delfin S.á r.l. owns approximately 7.5% of the Class A Common Stock in Brooks
               Brothers.

            e. Castle Apparel Limited owns 100% of the Class B Common Stock in Brooks
               Brothers.

       2.       Brooks Brothers International, LLC directly owns 100% of the equity or

membership interests, as applicable, in the following Debtors:

            a. BBD Holding 1, LLC (“Holdco 1”).

            b. BBD Holding 2, LLC (“Holdco 2”).

       3.       Holdco 1 and Holdco 2 each own 50% of the membership interests in BBDI, LLC.

       4.       The following entities own, directly or indirectly, the below equity interests in

Brooks Brothers Far East Limited (“Brooks Brothers Far East”):

            a. Brooks Brothers owns 99.8% of the shares of Brooks Brothers Far East.

            b. Claudio Del Vecchio owns 0.2% of the shares of Brooks Brothers Far East.

       5.       Brooks Brothers directly owns 100% of the equity or membership interests, as

applicable, of each other Debtor.




                                                2
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                                                                                                                                       Exhibit A

                                                                                                                         Organizational Chart




                                                                                                                                                                                                                                          Debtor




                                                                                       Brooks Brothers Group, Inc.                                                                                                                      Non-Debtor
                                                                                               (Delaware)




                                                                                                                                                                                                                                                                   99.8%
696 White Plains                                                                         Retail Brand Alliance Gift                              Brooks Brothers                         Brooks Brothers                                                                Brooks Brothers
                                              Deconic Group LLC                                                                                                                                                               Various Non-Debtor
   Road, LLC                                                                               Card Services, LLC                                    Restaurant, LLC                        International, LLC                                                              Far East Limited
                                                  (Delaware)                                                                                                                                                                     Subsidiaries
   (New York)                                                                                     (Virginia)                                        (Delaware)                              (Delaware)                                                                    (Hong Kong)




                        Golden Fleece                                                                                 Retail Brand Alliance of                                                               BBD Holding 1, LLC                    BBD Holding 2, LLC
                                                                  RBA Wholesale, LLC
                   Manufacturing Group, LLC                                                                              Puerto Rico, Inc.                                                                       (Delaware)                            (Delaware)
                                                                      (Delaware)
                          (Delaware)                                                                                         (Delaware)


                                                                                                                                                                   Various Non-Debtor
                                                                                                                                                                      Subsidiaries
                                                                                                                                                                                                                                   BBDI, LLC
                                                                                                                                                                                                                                   (Delaware)




                                                                                                                                                                                                                                                *Ownership is 100% unless
                                                                                                                                                                                                                                                otherwise indicated.
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :         Chapter 11
                                                             :
BROOKS BROTHERS GROUP, INC., et al., :                                 Case No. 20– ________
                                                             :
                                               1
                                    Debtors.                 :         (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x

                                  LIST OF EQUITY SECURITY HOLDERS

          Following is the list of the Debtor’s equity security holders which is prepared in accordance

with rule 1007(a)(3) for filing in this Chapter 11 Case.

                                               NAME AND ADDRESS OF                            PERCENTAGE OF
            DEBTOR
                                                 EQUITY HOLDER                                 EQUITY HELD
                                               Del Vecchio Family Trust
                                                                                            Approximately 15.1% of
    Brooks Brothers Group, Inc.     346 Madison Avenue, 10th Floor – Executive Office
                                                                                            Class A Common Stock
                                              New York, New York 10017

                                                   DV Family, LLC
                                                                                            Approximately 5.9% of
    Brooks Brothers Group, Inc.     346 Madison Avenue, 10th Floor – Executive Office
                                                                                            Class A Common Stock
                                              New York, New York 10017

                                                CDV 2015 Annuity Trust
                                                                                            Approximately 71.5% of
    Brooks Brothers Group, Inc.     346 Madison Avenue, 10th Floor – Executive Office
                                                                                            Class A Common Stock
                                              New York, New York 10017

                                                       Delfin S.á r.l.
                                                                                            Approximately 7.5% of
    Brooks Brothers Group, Inc.                     7 Rue de la Chapelle
                                                                                            Class A Common Stock
                                                    L-1325 Luxembourg




1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Brooks Brothers Group, Inc. (8883); Brooks Brothers Far East Limited (N/A); BBD
     Holding 1, LLC (N/A); BBD Holding 2, LLC (N/A); BBDI, LLC (N/A); Brooks Brothers International, LLC
     (N/A); Brooks Brothers Restaurant, LLC (3846); Deconic Group LLC (0969); Golden Fleece Manufacturing
     Group, LLC (5649); RBA Wholesale, LLC (0986); Retail Brand Alliance Gift Card Services, LLC (1916); Retail
     Brand Alliance of Puerto Rico, Inc. (2147); and 696 White Plains Road, LLC (7265). The Debtors’ corporate
     headquarters and service address is 346 Madison Avenue, New York, New York 10017.




                                                           1
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                                        NAME AND ADDRESS OF                       PERCENTAGE OF
        DEBTOR
                                          EQUITY HOLDER                            EQUITY HELD
                                            Castle Apparel Limited
                                           6th Floor, TAL Building
                                                                                   100% of Class B
Brooks Brothers Group, Inc.                     49 Austin Road
                                                                                    Common Stock
                                                   Kowloon
                                                  Hong Kong
                                        Brooks Brothers Group, Inc.
696 White Plains Road, LLC    346 Madison Avenue, 10th Floor – Executive Office           100%
                                        New York, New York 10017

                                        Brooks Brothers Group, Inc.
     Brooks Brothers
                              346 Madison Avenue, 10th Floor – Executive Office           100%
    International, LLC
                                        New York, New York 10017

                                        Brooks Brothers Group, Inc.
Brooks Brothers Restaurant,
                              346 Madison Avenue, 10th Floor – Executive Office           100%
          LLC
                                        New York, New York 10017

                                        Brooks Brothers Group, Inc.
   Deconic Group LLC          346 Madison Avenue, 10th Floor – Executive Office           100%
                                        New York, New York 10017

                                        Brooks Brothers Group, Inc.
     Golden Fleece
                              346 Madison Avenue, 10th Floor – Executive Office           100%
Manufacturing Group, LLC
                                        New York, New York 10017

                                        Brooks Brothers Group, Inc.
   RBA Wholesale, LLC         346 Madison Avenue, 10th Floor – Executive Office           100%
                                        New York, New York 10017

                                        Brooks Brothers Group, Inc.
 Retail Brand Alliance Gift
                              346 Madison Avenue, 10th Floor – Executive Office           100%
    Card Services, LLC
                                        New York, New York 10017

                                        Brooks Brothers Group, Inc.
  Retail Brand Alliance of
                              346 Madison Avenue, 10th Floor – Executive Office           100%
     Puerto Rico, Inc.
                                        New York, New York 10017

                                     Brooks Brothers International, LLC
   BBD Holding 1, LLC                      346 Madison Avenue                             100%
                                        New York, New York 10017

                                     Brooks Brothers International, LLC
   BBD Holding 2, LLC                      346 Madison Avenue                             100%
                                        New York, New York 10017

                                           BBD Holding 1, LLC
        BBDI, LLC                           100 Phoenix Avenue                            50%
                                         Enfield, Connecticut 06082

                                           BBD Holding 2, LLC
        BBDI, LLC                           100 Phoenix Avenue                            50%
                                         Enfield, Connecticut 06082




                                                   2
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                                     NAME AND ADDRESS OF                       PERCENTAGE OF
      DEBTOR
                                       EQUITY HOLDER                            EQUITY HELD
                                     Brooks Brothers Group, Inc.
Brooks Brothers Far East
                           346 Madison Avenue, 10th Floor – Executive Office       99.8%
        Limited
                                     New York, New York 10017

                                        Claudio Del Vecchio
Brooks Brothers Far East
                           346 Madison Avenue, 10th Floor – Executive Office          0.2%
        Limited
                                     New York, New York 10017




                                                3
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Fill in this information to identify the case:

Debtor name: RBA Wholesale, LLC
United States Bankruptcy Court for the District of Delaware
                                               (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
    correct:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity Holders

    I declare under penalty of perjury that the foregoing is true and correct.



    Executed on July 8, 2020
                                                         /s/ Stephen Marotta
                                                         Signature of individual signing on behalf of debtor
                    MM / DD /YYYY
                                                           Stephen Marotta
                                                         Printed name

                                                           Chief Restructuring Officer
                                                         Position or relationship to debtor




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors


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